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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

Nautilus Insurance Company,                               C/A No.: 2:22-cv-1307-RMG

                Plaintiff,
v.                                                        ANSWER TO AMENDED
                                                              COMPLAINT
Richard Alexander Murdaugh, Sr.; Cory
Fleming, Moss & Kuhn, P.A.; Chad
Westendorf; and Palmetto State Bank,

                Defendants.


       Defendant Richard Alexander Murdaugh, Sr., hereby answers Plaintiff Nautilus Insurance

Company (Nautilus)’s Amended Complaint, filed on May 11, 2022 (ECF No. 8), as follows:

                                   FOR A FIRST DEFENSE

       1.       Defendant admits the allegations of Paragraphs 1 to 8.

       2.       Defendant denies the allegations of Paragraph 9.

       3.       Defendant admits the allegations of Paragraphs 10 to 12.

       4.       Defendant admits the allegations of Paragraph 13 insofar as it alleges Nautilus

provided defense counsel for Defendant. Defendant does not know how much Nautilus paid

defense counsel.

       5.       Regarding the allegations of Paragraph 14, Defendant is unaware of when Nautilus

became aware of “facts regarding the Satterfield claims, allegations of insurance fraud, conspiracy

to commit insurance fraud, and allegations of criminal conduct” and therefore denies Nautilus

became aware of them “[b]eginning in July 2021.” Regarding the further allegations under

Paragraph 14:

            a. Defendant admits the allegations of Paragraph 14(a).
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    b. Defendant admits the allegations of Paragraph 14(b) insofar as he

       recommended Cory Fleming as counsel for the Satterfield family.

    c. Defendant admits the allegations of Paragraph 14(c) insofar as it alleges

       Defendant asked Brian Harriott and Tony Satterfield to renounce their

       respective rights to be personal representative of the estate and asked Chad

       Westendorf to serve as the personal representative of the estate. Beyond

       that, Defendant does not recall the mechanics of how the necessary probate

       forms were filed over five years ago and therefore otherwise denies the

       allegations.

    d. Defendant admits the allegations of Paragraph 14(d) insofar as he was not

       a bona fide insured seeking coverage because he invented the critical facts

       giving rise to a purported liability covered by Nautilus’s insurance policy,

       and he acted to assist the Satterfield estate succeed in a claim on those facts,

       which the representatives of the Satterfield estate believed were true.

       Defendant does not recall the details of what letterhead appeared on

       correspondence from five years ago. The allegation that “Fleming and

       Murdaugh were effectively co-counsel” is not a factual allegation but rather

       a vague editorial comment requiring no answer; to the extent an answer is

       required, Defendant does not know what is meant by this statement and

       therefore denies it.

    e. Defendant admits the allegations of Paragraph 14(e).

    f. Defendant admits the allegations of Paragraph 14(f) insofar as it alleges

       Defendant demanded Nautilus pay its full policy limits and that Defendant




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               threatened to admit liability at trial. Defendant does not know what is meant

               by the allegation that he was “abusive toward the Nautilus adjuster” and

               therefore denies that allegation.

            g. Defendant admits the allegations of Paragraph 14(g) insofar as it alleges

               monies paid by Nautilus were deposited into an account Defendant created

               in the name of “Forge,” which Defendant controlled. Defendant denies

               Cory Fleming or any person at Moss & Kuhn, P.A., had knowledge that the

               “Forge” account receiving the funds was controlled by Defendant.

               Defendant admits attorney’s fees were deducted from the disbursement but

               does not recall the exact amount of the fees.

            h. Defendant denies the allegations of Paragraph 14(h).

       6.      Defendant denies the allegations of Paragraph 15. Cory Fleming, Moss & Kuhn,

P.A., Chad Westendorf, and Palmetto State Bank did not conspire or collude with Defendant to

cause Nautilus to pay a fraudulent claim.

       7.      As to the allegations of Paragraph 16, Defendant admits he has been disbarred from

the practice of law and that his conduct regarding the Satterfield settlement was one reason for his

disbarment. Defendant otherwise is without sufficient knowledge to answer the allegations of

Paragraph 16 and therefore denies them.

       8.      The allegations of Paragraph 17 are editorial comments requiring no answer.

Regarding the further allegations under Paragraph 17:

            a. Defendant admits the allegations of Paragraphs 17(a) and 17(b). No dogs

               were involved in the fall of Gloria Satterfield on February 2, 2018. After

               Ms. Satterfield’s death, Defendant invented Ms. Satterfield’s purported




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                statement that dogs caused her fall to force his insurers to make a

                settlement payment, and he stated that she was not on the property to

                perform work.

             b. Defendant admits the allegations of Paragraph 17(c) except that Defendant

                denies the existence of any conspiracy to improperly cause Nautilus to pay

                a fraudulent claim.

       9.       Defendant admits the allegations of Paragraph 18.

       10.      As to the allegations of Paragraph 19, Defendant admits co-receivers were

appointed over his assets in a South Carolina state court proceeding. Nautilus’s descriptions of the

order appointing the co-receivers are editorial comments or conclusions of law requiring no

answer. Defendant lacks knowledge of whether Nautilus obtained the co-receivers’ consent to file

the present action and therefore denies the same.

       11.      Responding to Paragraph 20, Defendant incorporates herein the responses

enumerated above as if alleged and restated in full herein.

       12.      Defendant denies the allegations of Paragraph 21. Defendant admits his actions

were reprehensible in that he misused vulnerable persons who trusted him. However, it is

hyperbole to claim that stealing money from an insurance company is “depravity [] without

precedent in Western jurisprudence.”      Defendant further denies acting in concert with any

conspirators for the purpose of causing Nautilus to pay a fraudulent claim.

       13.      As to the allegations of Paragraph 22, Defendant admits he made false statements

to Nautilus. Regarding the further allegations made under Paragraph 22:

             a. Defendant admits the allegations of Paragraphs 22(a) and 22(b).




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             b. Defendant did state Ms. Satterfield was not on the property at the time of

                her fall to perform work for Defendant. He does not recall however why

                she was there that day over five years ago, and therefore denies the

                allegations of Paragraph 22(c).

             c. Defendant admits that he told counsel appointed by Nautilus for his defense

                to disburse settlement funds to the personal representative of the plaintiff

                estate and its lawyer, but otherwise denies the allegations of Paragraph

                22(d). Defendant did not act in concert with any “co-conspirators” for the

                purpose of causing Nautilus to pay a fraudulent claim. Persons other than

                Defendant, including Mr. Westendorf and Mr. Fleming, were unaware

                Defendant converted to his own use money believed to be disbursed to the

                Satterfield estate.

       14.      Defendant admits the allegations of Paragraphs 23 and 24 to the extent they allege

facts rather than conclusions of law to which no answer is required.

       15.      Defendant is without sufficient knowledge to answer the allegations in Paragraph

25 and the first Paragraph 26 therefore denies them.

       16.      Responding to the second Paragraph 26, Defendant incorporates herein the

responses enumerated above as if alleged and restated in full herein.

       17.      Defendant denies the allegations of Paragraphs 27 and 28.

       18.      Defendant is without sufficient knowledge to answer the allegations in Paragraphs

29 and 30 and therefore denies them.

       19.      Responding to Paragraph 31, Defendant incorporates herein the responses

enumerated above as if alleged and restated in full herein.




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       20.     As to the allegations of Paragraph 32, Defendant admits his conduct was “immoral,

unethical, oppressive, and/or offensive to public policy.”      Defendant expresses no opinion

regarding the conduct of other persons referred to as “Co-conspirators.”

       21.     Defendant admits Nautilus suffered damages due to Defendant’s wrongful conduct,

but otherwise denies the allegations of Paragraph 33 to 35. Defendant was not engaged in “trade

practices,” lawful or unlawful, because lying about the cause of Ms. Satterfield’s fall was not “the

conduct of any trade or commerce” under South Carolina Code § 39-5-20. Defendant is unaware

of any conduct constituting an unlawful trade practice by any persons referred to as “Co-

conspirators” that caused harm to Nautilus.

       22.     Defendant denies the allegations in Paragraph 36.

       23.     The Amended Complaint omits Paragraphs 37 to 41.

       24.     No answer is required to Paragraphs 42 to 50 because they assert a declaratory relief

cause of action which the Court has already dismissed.

                                  FOR A SECOND DEFENSE

       25.     Plaintiff has failed to join necessary parties under Rules 12(b)(7) and 19(b) of the

Federal Rules of Civil Procedure, specifically Eric Bland; Ronnie Richter; Bland Richter, LLP;

Tony Satterfield, individually and in his capacity as the Personal Representative of the Estate of

Gloria Satterfield; and Brian Harriott.

       26.     On information and belief, none of Eric Bland; Ronnie Richter; Bland Richter, LLP;

Tony Satterfield, individually and in his capacity as the Personal Representative of the Estate of

Gloria Satterfield; or Brian Harriott are citizens of Arizona and so their joinder would not deprive

the Court of subject-matter jurisdiction.




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       27.     Eric Bland; Ronnie Richter; Bland Richter, LLP; Tony Satterfield, individually and

in his capacity as the Personal Representative of the Estate of Gloria Satterfield; and Brian Harriott

have recovered over $7.5 million by means of an action in South Carolina Court of Common Pleas

for Hampton County, Satterfield et al. v. Murdaugh et al., Case No. 2021-CP-25-00298, based on

allegations that Defendant converted a payment from Nautilus (and a smaller payment from

Lloyd’s of London) that should have been paid to the Satterfield estate.

       28.     If Nautilus never should have made any payment to the Satterfield estate and only

attempted to do so because it was the victim of fraud, then the parties in possession of a recovery

of the money allegedly stolen from Nautilus are necessary parties to an action by Nautilus for

recovery of that money because (a) the “court cannot accord complete relief among [the] existing

parties” in their absence, and (b) those persons and entities “claim[] an interest relating to the

subject of this action” and their absence will “leave [existing parties] subject to a substantial risk

of incurring double, multiple, or otherwise inconsistent obligations because of that interest.” See

Fed. R. Civ. P. 19(a)(1).

                                     [signature block follows]




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                                      s/Phillip D. Barber
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Columbia, South Carolina
May 1, 2023.




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